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                  IN T H E U N ITED STATE S D ISTRICT CO U RT                  JAd 26''
                                                                                      D 1?
                 FOR TH E W ESTEXN DISTRICT OF W RGIN IA
                                                                              JULI
                                                                                 A     L;'   C RK
                            PIARRISO N BU RG D W ISIO N                     BY:


U N ITE D ST ATE S O F AM E RICA,

V.                                          Case N o.5:09-cr-00028

T IM OT H Y W AYN E PM N TE R,              By: M ichaelF.U rbansld
                                                 United StatesDisttictJudge
      Petitioner.
                            M EM O RAN D U M O PIN ION

      PetitionerTim othy W aynePaintezbringsthishabeascom uspetition pursuantto 28

U.S.C.j2255,arguingthathissentenceundertheArmedCateerCrinainalAct(<TACCA'')is
unconstittdonalinlightofJohnsonv.UnitedStates,135S.Ct.2551(2015).ECFNo.199.
Specifically,PninteratguesthathisVitginiaassaultand battery conviction referenced in

paragraph70ofthePresentencelnvestigationReport(<TSR'?),ECF N o.148,at16,no
longerqualifiesasaviolentfelony undertheACCA ,leaving lnim withoutthzeepredicate

convicéonsneededto invoke18U.S.C.j924(e)'s180-month mandatoryminimum sentence.
Thegovetnm entagrees.ECF N o.208.ThecourtconctzrsthatPainter'sA ccA-enhanced

sentenceisunlawfulin lightofJohnson.Therefoze,thecourtwillGRAN T Painter'shabeas
m odon and resentencelnim assetforth below .

                                           1.

      Pursuantto awtitten plea agreem ent,Painterentered aplea ofguiltyto three counts

ofthesupersedinginclictm entin thiscase:

             Count 1: conspizacy to possess with intent to distribute 50
             gram sozm oreofam ixtureor substance containing adetectable
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             amountofmethamphetamine,in violation of21 U.S.C.jj 841
             (a)(1)and 8469
             Count 4: possession of a flrearm in ftzrtherance of a dtug
             traffkkingcrime,inviolaéon of18U.S.C.j924(c)(1);and
             Count 6: possession of a frearm by a convicted felon, in
             violaéonof18U.S.C.j922($.
Followingasentencinghearing,acritninaljudgmentwasentered on M arch 25,2010,
sentencing Painterto a totalof195 m onthsincarceration- l3s m onthsasto Counts1 and

6,to be sezved concurrently,and 60 m onthsasto Count4 to be served consecutively.ECF

N o.144.

      Because the courtdeterrnined thatPainterhad thtee orm ore qualified convictions

undertheACCA,hewassubjectto 18U.S.C.j924(e)'smandatorynlinimum sentenceof
180 m onthson Count6,ratherthan the lzo-m onth m axim um sentenceotherwise

authorized underj924(a)(2).ThePSR identifiesthreequalifyingpreclicateconvictions
subjectingPainterto theACCA enhancement:distribution ofcocaine(paragzaph 59),
abduction and breaking andenteringwith intentto abduct(paragraph63),assaultand
battery- 3td offense(patagraph 70).ECF No.148.Counts1and 6weregrouped togethet
fozpkr osesoftheguidelinescom putaéon,and thecourtcalculated Painter'ssentencing

guidelinerangeas188 to 235 m onths.

      H owever,Painterzeceived thebenehtofasubstantialassistance m otion pursuantto

U.S.S.G.j51+1.1and 18U.S.C.j3553($,whichallowed thesentencing cotzrtto sentence
him below therequired statutory tninim um sentence otherwise found to apply.ECF N o.

128.A ccordingly,thecolzrtsentenced Painterto 135 m onthson Count1 and 135 m onths
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onCount6(below thel8o-monthrninimum forCount6requiredunderj924(e)),tonm
concuzzently,and 60 m onthson Count4 to run consecuévely.

      Theissueraisedin Painter'sj2255petitioniswhethet,following thedecisionsofthe
Uzzited StatesSupremeCouztinJohnsonv.United States,135 S.Ct.2551(2015),and Welch
v.United States,136S.Ct.125 (2016),hisACCA enhancementfothispriorconviction for
assaultand battery rem ainslawful.

                                          I1.

      Under28U.S.C.j2255,afederalinmatemaymovethesentencing courttovacate,
setaside,orcorrecttheprisoner'ssentence.Cotzrtsm ay affozd reliefwhereKfthe sentence

wasimposedin violation oftheConstitution orthelawsoftheUnited States.''Id.j2255$).
Ifthe courtdeterm inesthe sentencewasunlaw fully im posed,thecourtffshallvacateand set

thejudgmentasideandshalldischargetheprisonerorresentencelnim orgrantanew trialor
correctthesentenceasmayappearappropziate.''1d.j2255($.
      A convicted felon found guilty ofpossessing a firearm facesam axim um sentence of

120 months.18U.S.C.j924(a)(2).Howevet,theACCA providesforamaùdàtoryminimum
sentence of180 m onthswhen adefendantw aspreviously convicted ofatleastthteeprior

seriousdrugoffensesorviolentfelonies.Id.j924(e)(1).A violentfelonyisdefinedas:
             Any crim e punishable by im prisonm ent for a term exceeding
             one year ...that-
              (i)hasasan elementthe use,attem pted use,orthreatened use
             ofphysicalforce againsttheperson ofanother;or
              (ii)isburglary,atson,orextortion,involvesuseofexplosives,e:
                                                                        s


1d.j924(e)(2)(B)(strikeoutadded).

                                           3
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      In 2015,the Suprem e Couttinvalidated the language stricken above afterfinding it

void forvagueness.Johnsonv.United States,135S.Ct.2551(2015)rqohnson1177).
Though often parsed into threeclauses- the forceclause,the enum etated clause,and the

residualclause- j924(e)42)7)iscomprisedoftwonumberedsubsections.SeeBe a v.
United States,553U.S.137,142-44 (2008).Specifically,theflzstsubsection states:
              (i)hasasan elementtheuse,attempteduse,orthreateneduse
              ofphysicalfotceagainsttheperson ofanother;orrfsubsection
              (i)'')
18U.S.C.j924(e)(2)(B).Thisfustsubsection isoftenrefetzed toastherfforceclause.''The
second subsection states'
                        .

              $)        isburglary,arson,orextortion,involvesuseof
              eXPlosives,           ' '
                   .         . .          . ..                 .(ccSuj;secjkon
              (ii)'?)
1d.Subsection (ii)listsseveralspecificTfenumerated offense';crimes buzglary,arson,
extortion,anduseofexplosives- thatamountto violentfelorlies.Subsection @ goeson to
encom passany crim ethatffotherwiseinvolvesconductthatpresentsa seriouspotenéalrisk

ofinjury.7'Thissecondportion ofSubsection $l- thepartofthestatutedeemed
unconstittzéonalin Iohnson 11 -isoften called the ffresidualclause.':

                                            111.

      Paragraph 70 ofthe PSR indicatesthatPainterwasconvicted offelony assaultand

battery- thitd offensein A ugustaCounty CitcuitCotzrt.Assaultand batteryisnotan

enumerated offensecrimelistedin Subsecdon @ ofj924(e).NordoesVirgirliaassaultand
batteryfallwitllin theforceclauseofSubsection (i).lnUtlited Statesv.Carthozne,726F.3d
503,513-15(4th Cirk2013),theFourth CircuitCourtofAppealsheld thatassaultandbattery
                                             4
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ofa police officerin Vizginiadid notqualifyasacrim e ofviolence forpum osesofU .S.S.G .
                                                                  *
                                           .




j4B1.2(a)(1).TheCatthornecotutexplainedthatassaultandbatteryinVizginiadidnot
requizethelevelofforcedescribedinJohnsonv.UnitedStates,559U.S.133(2010)Solding
aFlolidabatterystatutewasanotaviolentfelonyundertheACCA).Carthorne,726F.3d at
5139seealsoUrlitedStatesv.Doss,825F.Supp.2d726,729-730(W.D.Va.2011)Solding
thataVirginia convicdon forassaultand batteryofa police officerisnotan A CCA predicate

undertheforceclauseofU.S.S.G.j4B1.2(a),butqualifiesonlyunderthenow defunct
residualclausel.lThesecasesinstttzctthatVirginiaassaultandbatteryisnotacrimethatffhas
asan elem entthe use,attem pted use,orthreatened use ofphysicalforce againsttheperson

ofanother.'?18U.S.C.j924(e)(2)(B)(i).
        TlkisleavesonlytheresidualclauseofSubsection $)ofj924(e)(2)(B)asameansby
which Painter'sassaultand battery conviction could qualify asan AccA-enhancingviolent

felony.AstheSupremeCourtdeterminedinJohnson II,theresidualclauseis
unconstitutionally vagueand no longera properbasisforan A ccA-enhanced sentence.z

        BecausetheVirginia assaultand battery conviction referenced in paragraph 70 ofthe

PSR doesnotqualify asa predicate offenseundertheA CCA ,Painterdoesnothave the

thteequahfying convictionsneeded toinvokej924(e)'s180-monthm andatorynùnimum.
Therefore,hissentenceasto Count6 isunlawfuland llishabeaspetition w111be

GRAN TE D .




iR'he courtagreeswith counselthatthe factthatPainterwascharged with assaultand battery ofafam ily m em berrather
thanapoliceofficezisofnom om entastheintendedvictim ofthecrim edoesnotim pacttheanalysis.
2TheholdingofIohnson11wasmaderetroacdveinWelchv.UnitedStates,136S.Ct.125(2016).
                                                       5
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                                           1A,.

      Both Paintezand thegovernm entask thatPainterberesentenced to atotalperiod of

incarceration of139 m onths,to be com prised ofa 79-m onth sentence on Count6,a

concurrent79-m onth sentenceon Count1,and aconsecutive 6o-m ont,
                                                               h sentence on Count

4.ECF Nos.199,208.Becausethepardesaskthecourtto resentencePainteron Count1(a
dtazgconviction)in additiontoCount6(thej922($ convicdonunlawfullyenhanced
puzsuantto j924(e)),thecourtheld aconferencecall* t.
                                                   14counselon December15,2016to
discusswhetherj2255reliefon Count6entitledPainterto resentencing on Count1.
Sectionj2255$)ofTitle28statesthatwhereacourtfindsajudgmentwasentered
unlawfully,rfthecourtshallvacateand setthejudgmentasideand shalldischargethe
Prisonerorresentence him orgranta new trialorcorrectthe sentence asm ay appear

appropriate.''Thisstatutorylanguageffconfersafbroad and flexible'powerto clistrictcourts

<tofashionanappropriateremedy.'''UnitedStatesv.Hillary,106F.3d1170,1171-72(4th
Cit.1997)(quotingUnitedStatesv.Garcia,956F.2d 41,45(4th Cit.1992)).
       In Hilla ,tlaepetitionetcollaterallyattackedhis18U.S.C.j924/)sentenceforusing
orcarrying aftrearm dudng and in relatb n to a dl'
                                                 ug trafficking offense based on Baile v.

UnitedStates,516U.S.137 (1995).ln addition to serdngasentenceforaj924/)
conviction,petitionerM isterT.H illarywasserving a consecutive 78-m onth sentence fora

21U.S.C j841(a)(1)conviction.Hillary,106F.3dat1170.Afterthesentenceon j924/)
wasvacated,thegovernm entatgued thatIqillal'yshouldberesentenced on thej841(a)(1)
conviction and thegovernm entbe allowed to seek an enhancem entunderU.S.S.G .

j2D1.1$)(1).Id.at1170-71.ThedistrictcourtdeclinedtoresentenceLlillaryonthe

                                            6
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j841(a)(1)convicéon,ffconcludingthatitlackedjlxrisclictiontodoso.''Id.at1171.The
Fotzrth Citcuitdisagreed,concludingthatj2255reliefallowed thecourtto reachthe
j841(a)(1)sentence.ld.at1171-73.TheTlnitd CitcuitCotzrtofAppealsreachedasimilaz
conclusionin UnitedStatesv.Davis,112 F.3d 118,120-23 (3dCir.1997)rfBased on the
factsofthiscase,in wllich the petitionercollaterally attacksonly oneofhism ultiple

convictions,wlnich are interdependentforsentencing pum oses,we find thatthe disttict

couttdid noterrin asserting jtzrisdiction to recalculatetheaggregatesentence.').
        Both D avisand 1-
                        11
                         7la1rinvolved consecutive sentences.Thisdistinction doesnot

renderthesecasesinapplicable to thepzesentcaseinvolving theconcutrentsentencesof

Counts1and 6,however.AsDavisexplains,fftheintetdependenceofthevacatedj924/)
conviction and therem aining drug offensessuggeststhatêesentencing on allcountsisthe

onlyresultconsistentwith the punishm entprescribed bythe1aw.
                                                           77112F.3d at121.Justasin
                                                                 .




DavisandHillary,thej922/)andj841(a)(1)convictionsinPainter'sjudgmentwere
interdependent.Counts1 and 6w ere grouped togetherforputmosesofcalculating Painter's

guideline range,and Painter'stotaloffense levelwaselevated from a level27 to a level31as

aresultoftheACCA designation. Thus,theA CCA enhancem entincreased the guideline

rangeforboththedrug convicéon and thej922(g)conviction.3
        AsCounts 1and 6 azeinterdependent,the appropriaterem edy under28 U .S.C.

j2255requiresthatthecourtresentencePainteron170ththej841(a)(1)and j922(g)
convictions.




3Painter'sACCA designadonclidnotaffectthesentencehereceivedonCount4,aconvictionlmder18U.
                                                                                       S.C.j924(c),
wllich carziesam andatory m inim llm of5 yearsthatmustr''n consecuévelyto any otherterm ofimprisonm entim posed.
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                                           V.

      A spreviously noted,Painterand thegovernm enthave agreed thatPaintershould be

resentenced to atotalterm of139 m onths,consiséng of79m onthson Counts1 and 6,to

run concurrently,and 60 m onthson Count4,to run consecudvely.This79-m onth figureis

derived asfollows.Paintetwasheld accountable for499 gram sofm etham phetaM ne,wllich

isnow an offenselevel28.U.S.S.G.j2D1.1(c)(6).Subttacéng thzee'pointsforacceptanceof
responsibility yieldsa totaloffense levelof25.Applicaéon ofPainter'sctim inalhistory

category ofVlresultsin aguidelinerangeof110-137 m onths.Painter'spriorsentencewas

reduced forsubstantialassistance from aguidelinezangeof188-235 m onthsto 135 m onths.

A pplying a cornm ensurate reduction to Painter'snew glzidelinerangeresultsin areduced

sentence forCounts 1and 6 of79m onths.Painter'sconsecutive sentenceof60 m onthsfor

Count4 rem ainsunchanged.

                                           V I.

       Accozdingly,thecourtwillGRANT Painter's28U.S.C.j2255modon (ECF No.
199)andresentencehim to atotalperiodofincarceradon of139months,com pzised of79
m onthson Count1 and 79 m onthson Count6 to rtm concutrently,and 60 m onthson

Count4 to run consecuévely.The cotzrtfindsthe 139-m onth sentepceproposed by the

partiesissuffkient,butnotgreaterthan necessary,and accountsforthe sentencing factors

thecotzrtmustconsiderpkzrsuantto 18U.S.C.j3553($.
       Painterhaswaived any rightto beresentenced in person and hasconsented to being

resentenced in laisabsence. A sno victim swish to attend Painter'sresentencing and no




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    motion* 1bemadetoamendthecondidonsofsupervisedrelease(accordingtothe
    representationoftheparties),thecourtwillnotholdaresentencinghearing.                     1
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            An appropdate Orderand amended judgmentwillbeentered.
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                                               UnitedStatesDistrictludge


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